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                                                         RESIDENTIAL REAL ESTATE SALE CONTRACT

          1        THIS CONTRACT is made between: (Print names and INDICATE MARITAL STATUS OF PARTIES. If Seller name
          2        is not completed, Licensee Assisting Seller to insert Seller name prior to presentation to Seller.)
          3
          4        SELLER:________________________________________________________________________________
                                              Christopher Redmond, BK Trustee for the Estate of Samantha Ruiz

          5                      ________________________________________________________________________________

          6                                       Elvi Guerra and Wagner Maricio Guerra-Arana (AMC)
                   BUYER: ________________________________________________________________________________

         7                       ________________________________________________________________________________
         8
         9             Bank-Owned Property (check if applicable). If the real property is bank-owned and the titled owner of record is
        10             not known at the Effective Date of this Contract, BUYER and SELLER agree the name of the SELLER is amended
        11             to as it is stated in the Deed at Closing and is incorporated herein by reference and in any amendments and
        12             addenda. SELLER warrants it has full authority to sign and perform on this Contract on behalf of the titled owner of
        13             record.
        14             Improvements on the Property include a manufactured/mobile home. (A manufactured/mobile home may
        15             be considered personal property unless certain requirements have been met).
        16
        17         PROPERTY, ADDENDA, DESCRIPTIONS AND CONDITIONS
        18
        19         1. PROPERTY. BUYER agrees to purchase and SELLER agrees to sell the real property and the improvements
        20            thereon (the "Property") commonly known as:
        21                                       4905 Douglas ave, Kansas City, KS 66106                   Wyandotte
                      __________________________________________________________________________________________
        22            Street Address                                City                 Zip                    County
        23
        24               STATE: (Check one)               Missouri          Kansas
        25
        26               LEGAL DESCRIPTION. (Legal description on SELLER’S vesting deed(s) to govern):
        27               ___________________________________________________________________________________________
                         DOUGLAS WOODS, S25, T11, R24, ACRES 1.360000, L2
        28               ___________________________________________________________________________________________
        29               ___________________________________________________________________________________________
        30
        31               This Contract, including the Fixtures, Equipment and Appliances paragraph of the Seller’s Disclosure and
        32               Condition of Property Addendum (“Seller’s Disclosure”), not the MLS, or other promotional material, provides for
        33               what is included in the sale of the Property.
        34
        35               Items listed in the “Additional Inclusions” or “Exclusions” below supersede the Seller’s Disclosure and the pre-
        36               printed list below. If there are no “Additional Inclusions” or “Exclusions” listed, the Seller’s Disclosure and the pre-
        37               printed list below govern what is or is not included in the sale.
        38
        39               IF THERE ARE DIFFERENCES BETWEEN THE SELLER’S DISCLOSURE AND THE PRE-PRINTED LIST
        40               BELOW, THE SELLER’S DISCLOSURE GOVERNS. Unless modified by the Seller’s Disclosure and/or the
        41               “Additional Inclusions” and/or the “Exclusions”, all existing improvements on the Property (if any) and
        42               appurtenances, fixtures and equipment (which SELLER agrees to own free and clear) whether buried,
        43               nailed, bolted, screwed, glued or otherwise permanently attached to the Property are expected to remain
        44               with Property, including, but not limited to:
        45
        46               Attached & all bathroom mirrors                 Attached Lighting               Attached shelves, racks, towel bars
        47               Fences (including pet systems)                  Closet systems                  Mounted entertainment brackets
        48               Fireplace grates, screens and/or                Attached floor coverings        Plumbing equipment and fixtures
        49                  glass doors                                  Window blinds, curtains,
        50               Storm windows, doors, & screens                   & coverings (if not excluded)



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        51              a. Additional Inclusions. The following items, if any, supersede the Seller’s Disclosure and the pre-printed list
        52                 before; are considered to be part of the Property, and are included in the sale. _________________________
        53                  _______________________________________________________________________________________
        54                  _______________________________________________________________________________________
        55                  _______________________________________________________________________________________
        56                  _______________________________________________________________________________________
        57                  _______________________________________________________________________________________
        58                  _______________________________________________________________________________________
        59
        60               b. Exclusions. The following items, if any, supersede the Seller’s Disclosure and the pre-printed list before; are
        61                  not considered to be part of the Property, and are not included in the sale. ___________________________
        62                   _______________________________________________________________________________________
        63                   _______________________________________________________________________________________
        64                   _______________________________________________________________________________________
        65                   _______________________________________________________________________________________
        66                   _______________________________________________________________________________________
        67                   _______________________________________________________________________________________
        68
        69               c. Additional Terms and Conditions, if any. ____________________________________________________
        70                  _______________________________________________________________________________________
        71                  _______________________________________________________________________________________
        72                  _______________________________________________________________________________________
        73                  _______________________________________________________________________________________
        74                  _______________________________________________________________________________________
        75
        76               d.          Limited Home Warranty. (Check if applicable)
        77
        78                     1.        SELLER          BUYER, at a cost not to exceed $                 , agrees to purchase a home warranty
        79                            plan from                                                    ____ (vendor) to be paid at Closing. A home
        80                            warranty plan is a limited service contract covering repair or replacement of the working components of
        81                            the Property for a minimum of one (1) year from the Closing Date subject to the terms and conditions of
        82                            the individual plan with a per claim deductible of $ ___________.
        83
        84                     2. The (Check one)       Licensee assisting SELLER        Licensee assisting BUYER will be responsible for
        85                        making arrangements for the home warranty plan, submitting required documentation for such to the
        86                        Closing Agent prior to the Closing Date. Broker may receive a fee from the warranty company.
        87
        88                     Home warranty plans may not cover pre-existing conditions and are not a substitute for inspections.
        89
        90         2. ADDENDA. The following Addenda (riders, supplements, etc.) are attached hereto and are a part of this Contract
        91            (Check applicable boxes):
        92
        93                       Seller’s Disclosure and Condition of Property Add.           Other: ________________________________
        94                       Lead Based Paint Disclosure Addendum                         Other: ________________________________
        95                       Contingency for Sale and/or Closing Add.                     Other: ________________________________
        96                        (see FINANCIAL TERMS paragraph)                             Other: ________________________________
        97                       Other: ________________________________
                                                     KWOP disclosure                          Other: ________________________________
        98                       Other: ________________________________
                                                   BK Global Addendum                         Other: ________________________________




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       99          3. DESCRIPTIONS AND CONDITIONS.
      100
      101                a. Effective Date. The Effective Date will be the date of final acceptance by the last party to sign this
      102                   Contract or a Counter Offer Addendum, the Brokerage Relationship Disclosure Paragraph of this
      103                   Contract; the Seller’s Disclosure and Condition of Property Addendum and, if applicable, a Lead
      104                   Based Paint Disclosure Addendum for the Property.
      105
      106                b. Seller’s Disclosure Status. SELLER confirms information contained in the Seller’s Disclosure and Condition
      107                   of Property Addendum is current as of the Effective Date of the Contract. SELLER understands that the law
      108                   requires disclosure of any material defects, known to SELLER, in the Property to prospective Buyer(s) and
      109                   that failure to do so may result in civil liability for damages.
      110
      111                c. Entire Agreement and Manner of Modifications. This Contract and all attachments constitute the complete
      112                   agreement of the parties concerning the Property; supersede all previous agreements, and may be modified
      113                   or assigned only by a written agreement signed by all parties.
      114
      115                d. Parties. This is a Contract between SELLER and BUYER. If SELLER or BUYER constitutes two or more
      116                   persons, the terms "SELLER" or "BUYER" will be construed to read "SELLERS" or "BUYERS" whenever the
      117                   sense of the Contract requires.
      118
      119                      Unless identified as SELLER or BUYER, Listing Broker and any Cooperating Broker and their Agents
      120                      (collectively referred to as "Broker") and any Escrow or Closing Agent are acting as Agents only and are not
      121                      parties to this Contract.
      122
      123                      SELLER and BUYER acknowledge Broker may have a financial interest in third parties providing specialized
      124                      services required by this Contract including, but not limited to: Lender, title insurance company, Escrow Agent,
      125                      Closing Agent, warranty company, wood infestation/mechanical/structural or other inspectors and repair
      126                      personnel. SELLER and BUYER agree Broker will not be responsible for the conduct of third parties providing
      127                      specialized services whether those services were arranged by SELLER, BUYER, or Broker on behalf of
      128                      either.
      129
      130                            SELLER and/or BUYER is a licensed real estate broker or salesperson. (Check applicable boxes)
      131                               SELLER licensed in:      MO     KS      Other _____________________
      132                               BUYER licensed in:       MO     KS      Other _____________________
      133
      134                            Licensee assisting SELLER is an immediate family member of: (check applicable boxes)
      135                                SELLER          BUYER
      136                            Licensee assisting BUYER is an immediate family member of: (check applicable boxes)
      137                                SELLER          BUYER
      138
      139                e. Notices. Any notice or other communication required or permitted hereunder may be delivered in person, by
      140                   facsimile, United States Postal Service, courier service or email to the address set forth in this Contract or
      141                   such other address or number as will be furnished in writing by any such party.
      142
      143                      Such notice or communication will be deemed to have been given as of the date and time so delivered.
      144                      Delivery to or receipt by the Licensee assisting BUYER will constitute receipt by BUYER and delivery to or
      145                      receipt by the Licensee assisting SELLER will constitute receipt by SELLER.
      146
      147                f.    Time is of the essence. Time is of the essence in the performance of the obligations of the parties under this
      148                      Contract. With the exception of the terms “banking days” or ”business days”, as used herein, a “day” is
      149                      defined as a 24-hour calendar day, seven (7) days per week.
      150
      151                g. Electronic Transaction. All parties agree this transaction may be conducted by electronic means, including
      152                   email, according to the Uniform Electronic Transaction Act as adopted in Kansas and Missouri.
      153
      154                h. Cyber Protection. Because you are going to be involved in a real estate transaction where money is
      155                   changing hands, you are a potential target for cyber-criminals. Always contact the closer directly before wiring
      156                   any money.
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      157          PURCHASE PRICE, FINANCIAL TERMS AND CLOSING AND POSSESSION
      158
      159                                                                                                                              120,000
                   4. PURCHASE PRICE. The Purchase Price for the Property is ........................................... $ _________________
      160             which BUYER agrees to pay as follows:
      161
      162                a. Earnest Money will be delivered to Listing Agent or Escrow Agent
      163                            5
                            within _____ calendar days (two (2) if left blank) of the Effective Date
      164                   and must comply with state laws as defined in the Earnest Money and
      165                   Additional Deposits paragraph of this Contract.
      166
      167                      If not delivered as specified, SELLER may cancel this Contract
      168                      by written notice, any time prior to delivery of the Earnest Money.
      169
      170                b. Earnest Money in the form of: (Check one)
      171                      Personal check OR             wire transfer or certified check ................ $_________________
                                                      Other ______________________________                            1,200    500(b)
      172
      173                      Deposited with: __________________________________________
                                                                Brightline title
      174
      175                      BUYER acknowledges that funds payable to and held by SELLER
      176                      WILL NOT be held subject to the terms of the Earnest Money and
      177                      Additional Deposits paragraph and may not be refundable.
      178
      179                                                                                                                4,800     0
                         c. Additional Earnest Money will be delivered on or before ___________ ................ $__________________(c)
      180                      Personal check OR             wire  transfer or certified check
                                                     Other _______________________________
      181
      182                                      Brightline Title
                               Deposited with: ____________________________________________
      183
      184                      BUYER acknowledges that funds payable to and held by SELLER
      185                      WILL NOT be held subject to the terms of the Earnest Money and
      186                      Additional Deposits paragraph and may not be refundable.
      187
      188                d. Total Amount Financed by BUYER (Zero (0) if Cash Sale) .....................................$__________________(d)
                                                                                                                                      96,000
      189                   (not including financed mortgage insurance premiums,
      190                   VA Funding Fee or other closing costs, if any)
      191
      192                e. Balance of Purchase Price to be paid in CERTIFIED FUNDS
      193                                                                                                                    18,000 23,500
                            Purchase Price (less b, c & d of this paragraph) on or before Closing Date. ............ $__________________(e)
      194                        Includes Lender(s) approved down payment assistance.
      195
      196                f.    Total Additional Seller Expenses (Each line ZERO ($0) if left blank):
      197
      198                      1. Additional SELLER paid costs. In addition to any other costs SELLER
      199                         agreed to pay herein, SELLER agrees to pay other allowable closing costs
      200                         permitted by Lender(s) and/or prepaid items for BUYER, not to exceed: ............$__________________0
      201
      202                      2. Costs Not Payable by BUYER. Some lending programs may prohibit
      203                         a BUYER from paying certain closing-related costs. SELLER agrees to
      204                         pay all costs associated with obtaining the BUYER’S loan(s) which
      205                         the program rules will not permit the BUYER to pay, not to exceed: ....................$__________________0
      206
      207                             TOTAL ADDITIONAL SELLER EXPENSES NOT TO EXCEED: ......................$__________________0




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      208                g. Other Financing Costs.
      209
      210                      1. Loan Costs. BUYER agrees to pay all customary costs necessary to obtain the Loan(s) (including but
      211                         not limited to, origination fees, discounts or buy-downs) unless otherwise agreed.
      212
      213                      2. Private Mortgage Insurance (PMI). BUYER will pay any up front PMI premium and annual renewal
      214                         premiums or will finance the PMI as a part of the Loan(s), if required by Lender(s).
      215
      216                      3. FHA Mortgage Insurance (MIP). BUYER will pay any up front MIP premium and annual renewal
      217                         premiums or will finance MIP as a part of the Loan(s).
      218
      219                      4. VA Funding Fee as required by Lender(s) will be paid at Closing by the BUYER or financed as part of the
      220                         Loan(s).
      221
      222                      5. USDA Funding Fee as required by Lender(s) will be paid at Closing by the BUYER or financed as part of
      223                         the Loan(s).
      224
      225                      6. Flood Insurance. BUYER agrees to pay for flood insurance if required by Lender(s).           EG           WMG
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      226                                                                   45 days from short sale approval               6:12 PM CST      6:16 PM CST
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      227          5. CLOSING AND POSSESSION. On or before _______________ (Closing Date), SELLER will execute and
      228             deliver into escrow with the title company(s) or other Closing Agent(s), a general warranty deed (or special
      229             warranty deed or fiduciary deed, if SELLER is a corporation, association, financial institution or fiduciary) and all
      230             other documents and funds necessary to satisfy SELLER’S obligations under this Contract.
      231
      232                On or before the Closing Date, BUYER will execute and deliver into escrow with the title company(s) or other
      233                Closing Agent(s), all documents (including note(s), mortgage(s)/deed(s) of trust, and any other documents
      234                required by BUYER’S Lender(s), if BUYER is obtaining financing) and funds (including Loan proceeds, if BUYER
      235                is obtaining financing) necessary to satisfy BUYER’S obligations under this Contract.
      236
      237                SELLER and BUYER acknowledge all funds required for Closing must be in the form of cashier’s check,
      238                wire transfer or other certified funds.
      239
      240                When all documents and funds have been executed and delivered into escrow with the title company(s) or other
      241                Closing Agent(s), the Closing will be completed. SELLER will deliver possession of the Property to BUYER on
      242                ___________________________
                                    at funding              at _____ o’clock ____. m., (if left blank, Possession will be 5:00 P.M. on the
      243                Closing Date).
      244
      245                BUYER must not occupy the Property or place personal property in or on it prior to completion of the
      246                Closing and disbursement or availability of SELLER’S proceeds, if any, unless otherwise agreed upon in
      247                writing by the BUYER and the SELLER.
      248
      249          6. APPRAISED VALUE CONTINGENCY.
      250
      251                If Financing is being obtained, the appraisal must be completed within the Loan Approval Period.
      252
      253                If a cash sale, BUYER may within _______ calendar days from the Effective Date of this Contract (within the
      254                Inspection Period if left blank) obtain, at BUYER’S expense, an appraisal of the Property by an independent
      255                licensed appraiser.
      256
      257                If the final appraised value of the Property, as determined by BUYER’S Lender’s appraiser or if a cash sale,
      258                BUYER’S appraiser, is not equal to or greater than the Purchase Price, BUYER will notify SELLER in
      259                writing, within ______ calendar days (five (5) days if left blank), attaching a copy of the appraisal report,
      260                and the following may occur:




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      261                      BUYER and SELLER will have _____ calendar days (five (5) days if left blank) after SELLER’S receipt
      262                      of BUYER’S appraisal report ("Appraisal Negotiation Period"), to reach an agreement resolving the
      263                      appraisal value and/or purchase price.
      264
      265                      During this period, SELLER or BUYER may seek a reconsideration of value by the appraiser. If such
      266                      reconsideration finds a value equal to or greater than the Purchase Price, or if BUYER and SELLER sign an
      267                      Amendment resolving the difference between the appraised value and the Purchase Price, the transaction will
      268                      move forward to Closing.
      269
      270                      If no resolution is reached prior to the expiration of the Appraisal Negotiation Period, then after the
      271                      expiration of the Appraisal Negotiation period, either party may cancel this contract by written notice
      272                      to the other and BUYER’S Earnest Money will be subject to the provisions of the Earnest Money and
      273                      Additional Deposits paragraph of the Contract.
      274
      275          7. SALE CONTINGENCY. (Check applicable box)
      276
      277                      This Contract is NOT contingent upon the sale and/or Closing of a BUYER’S Property.
      278
      279                      This Contract IS contingent upon the sale and/or Closing of a BUYER’S Property and a Contingency For
      280                      Sale and/or Closing of Buyer’s Property Addendum is attached.
      281
      282
      283          8. FINANCIAL TERMS.
      284
      285                       THIS IS A CASH SALE. BUYER must provide written verification of funds within ____ calendar days (five (5)
      286                       days if left blank), after the Effective Date, which are sufficient to complete the Closing on this Contract.
      287
      288                       THIS IS A FINANCED SALE. This Contract is contingent upon BUYER obtaining the financing described in
      289                       this paragraph.
      290
      291                BUYER may obtain Loan(s) different from those described herein provided that the terms of the Loan(s) do not
      292                result in additional costs to SELLER, delay the Closing date, or change the Loan approval time frame. These
      293                changes must be agreed in writing, by both parties, within five (5) calendar days of BUYER’S knowledge and no
      294                later than ____ calendar days before Closing Date (fifteen (15) days if left blank). Any other changes must be
      295                communicated to SELLER in writing and include a pre-approval letter.
      296
      297                BUYER and SELLER are hereby informed any changes to the terms below after the Effective Date of the Contract
      298                have the potential to delay Closing and/or change costs due to federal regulations.
      299
      300                a. Type of Financing. Loan(s) will be         owner-occupied Loan(s) or          investment Loan(s).
      301
      302                b. Loan Types/Terms. BUYER will obtain a Loan(s) upon the following terms.
      303
      304                      Type:                                              Primary Loan                          Secondary Loan
      305                      Conventional
      306                      FHA
      307                      VA
      308                      USDA
      309                      Other_________________
      310
      311                      Interest Rate:
      312                      Fixed Rate
      313                      Adjustable Rate
      314                      Interest Only
      315                      Other___________________
      316
      317                      Amortization Period                                    30
                                                                                  _________years                      _________years
      318                      Principal Amount or LTV                              96,000
                                                                                  _________                           _________
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      319                      All Loan amounts will include financed mortgage insurance premiums or VA funding fee, if any, according to
      320                      the provisions described herein (the “Loan”). The Loan(s) will be secured by a mortgage/deed of trust on the
      321                      Property or as otherwise required by Lender(s), and repayable in monthly installments.
      322
      323                c. The Loan(s) will bear interest as follows:
      324
      325                      1. Primary Loan                       _____ interest rate not exceeding ______% per annum or
      326                                                            _____ the prevailing rate at closing
      327
      328                      2. Secondary Loan                     _____ interest rate not exceeding ______% per annum or
      329                                                            _____ the prevailing rate at closing
      330
      331                      BUYER has the option to “lock in” the foregoing interest rate or to “float” the interest rate.
      332
      333                      If BUYER locks in a rate, BUYER agrees to accept the “locked” rate and terms even if different than those
      334                      stated above. If BUYER floats the rate, BUYER agrees to accept the rate and terms available from BUYER’S
      335                      Lender(s) for which BUYER qualifies at Closing.
      336
      337                d. Loan Application(s). BUYER agrees to authorize Lender(s) to perform all required services (credit report,
      338                   appraisal, etc.), pay the fees required by Lender(s), and provide Lender(s) with all information requested no
      339                   later than five (5) days after the Inspection Period ends.
      340
      341                                   BUYER IS PRE-APPROVED (See attached Lender(s) letter(s).) BUYER has submitted information to
      342                                   _______________________
                                                        Jim Siebold               First Mortgage Solutions (Lender(s)) who has checked BUYER’S
                                                                              / ____________________
      343                                   credit and indicated BUYER can qualify for a Loan(s) in an amount equal to or greater than the
      344                                   Loan(s) contemplated in this Contract, subject to satisfactory appraisal of the Property and any other
      345                                   conditions set forth in the attached Lender(s) letter(s). The pre-approval must indicate the BUYER’S
      346                                   credit is acceptable to Lender(s) and indicate whether or not the pre-approval is subject to the sale
      347                                   and Closing of the BUYER’S current property.
      348
      349                                   BUYER IS NOT PRE-APPROVED. Within ___________ calendar days (five (5) days if left blank)
      350                                   after the Effective Date of this Contract, BUYER will complete a written application.
      351
      352                       SELLER is aware that pre-approval is not a guarantee that BUYER will receive Lender(s) Loan
      353                       approval(s).
      354
      355                e. Loan Approval(s). BUYER agrees to make a good faith effort to obtain a commitment for the Loan(s) within
      356                   __________ calendar days (forty-five (45) days if left blank) from the Effective Date of this Contract or within
      357                   ________ calendar days (five (5) days if left blank) prior to the Closing Date, whichever is earlier (the “Loan
      358                   Approval Period”).
      359
      360                      If BUYER is unable to obtain a commitment for the Loan(s) within the Loan Approval Period, SELLER may
      361                      cancel this Contract by written notice.
      362
      363                      Upon written evidence of rejection provided by BUYER’S Lender(s), BUYER or SELLER may cancel this
      364                      Contract by written notice.
      365
      366                      In either case, BUYER’S Earnest Money will be subject to the provisions of the Earnest Money and Additional
      367                      Deposits paragraph of the Contract.
      368
      369                f.    Lender Appraisal Requirements. In addition to any other costs or sums to be paid by SELLER pursuant to
      370                      this Contract, SELLER agrees to pay an amount not to exceed $____________ (zero (0) if left blank) for
      371                      requirements contained in the Lender’s appraisal and a copy of Lenders appraisal requirements will be
      372                      provided to SELLER. If any repairs are required, they will be performed in a workmanlike manner with good-
      373                      quality materials.



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      374                      If appraisal and/or Lender(s) requirements exceed the amount in this blank and if SELLER and BUYER have
      375                      not agreed in writing to a resolution of the excess appraisal and/or Lender(s) requirements prior to the Closing
      376                      Date, or within the time period (no less than five (5) calendar days) specified in a written demand by either
      377                      party, this Contract will be cancelled and disposition of BUYER’S Earnest Money will be subject to the
      378                      provisions of the Earnest Money and Additional Deposits paragraph of the Contract.
      379
      380          CONDITION, MAINTENANCE AND INSPECTIONS OF THE PROPERTY
      381
      382          9. UTILITIES. SELLER agrees to leave all utilities on until the date of possession unless otherwise agreed.
      383
      384                The BUYER will pay SELLER for the amount of fuel left in tank(s) at Closing based upon SELLER’S actual cost at
      385                time of purchase, if applicable. SELLER will have tank read no earlier than seven (7) calendar days and no later
      386                than five (5) calendar days prior to the Closing Date and provide documentation to BUYER.
      387
      388        10. MAINTENANCE OF PROPERTY. SELLER will maintain the Property in its present condition and agrees to
      389            perform ordinary and necessary maintenance, upkeep and repair to the Property through the Possession Date.
      390
      391                SELLER must advise BUYER in writing of any substantial change in the condition of the Property prior to Closing.
      392
      393                Unless otherwise agreed in writing, SELLER must remove all possessions, trash and debris, and clean the
      394                Property, upon vacating or prior to delivery of Possession.
      395
      396        11. INSURANCE/CASUALTY LOSS. SELLER agrees to keep the Property insured until delivery of SELLER’S deed
      397            to BUYER.
      398
      399                BUYER and SELLER agree to consult with their respective insurance companies to ensure appropriate
      400                coverage during the time between completion of close and possession.
      401
      402                If before delivery of the deed to BUYER, the Property is damaged or destroyed by fire or other causes including
      403                those that could be covered by what is known as fire and extended coverage insurance, then the SELLER must
      404                notify the BUYER in writing within one (1) calendar day of discovery of such damage. The parties agree that the
      405                risk of that damage or destruction will be borne as follows:
      406
      407                a. If the damage is minor, SELLER may repair or replace the damage done to the Property if the work can be
      408                   completed before the Closing Date.
      409
      410                      If the SELLER elects to repair or replace the damage done to the Property, but repair/replacement cannot be
      411                      completed prior to the Closing, with written agreement between the parties one of the following options will be
      412                      chosen:
      413
      414                      1. SELLER will pay for repair/replacement after Closing; or
      415                      2. The parties will extend the Closing Date to such time as repairs/replacement can be completed; or
      416                      3. With consent of BUYER’S Lender(s), 1.5 times the estimated cost of repair/replacement will be escrowed
      417                         until repair/replacement is complete with any funds remaining after payment for repairs/replacement being
      418                         remitted to the party that funded the escrow.
      419
      420                b. If SELLER elects not to repair or replace the damage done to the Property, or if the damage is not minor, the
      421                   BUYER may enforce or cancel this Contract by written notice to SELLER within ten (10) calendar days after
      422                   receiving notice of such damage to the Property.
      423
      424                      1. If BUYER elects to enforce this Contract, the Purchase Price will not be reduced and the Property will be
      425                         conveyed in its existing condition at the time, provided SELLER must furnish BUYER with a copy of the
      426                         insurance damage assessment and be responsible for paying the insurance deductible and assign
      427                         SELLER’S fire and extended coverage proceeds to BUYER at Closing.
      428                      2. If BUYER and SELLER mutually agree upon the cost of repairs, then SELLER may pay the cost of those
      429                         repairs.


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      430        12. SURVEY. BUYER may, at BUYER’S expense, obtain a “Staked Survey” of the Property no later than _____
      431            calendar days (ten (10) days if left blank) prior to the Closing Date to assure there are no defects, encroachments,
      432            overlaps, boundary line or acreage disputes, or other such matters that would be disclosed by a survey.
      433
      434                BUYER acknowledges a Mortgage Inspection Report or “Loan Survey” required by a lending institution is not a
      435                “Staked Survey”. A title insurance company typically requires a “Staked Survey” in order to provide survey
      436                coverage to the BUYER.
      437
      438                Within five (5) calendar days of BUYER’S receipt of Survey, BUYER must notify SELLER of any encroachments
      439                of any improvements upon, from, or onto the Property or any building setback line, property line, or easement,
      440                which encroachment will be deemed to be a title defect. SELLER must remedy such defects as are susceptible of
      441                being remedied prior to the Closing Date. If SELLER does not remedy the defects in title, BUYER will have one of
      442                the following options:
      443
      444                a. Completing this purchase and accepting the title that SELLER is able to convey without adjustment in the
      445                   Purchase Price; or
      446
      447                b. Cancelling this Contract by written notice. BUYER’S Earnest Money will be subject to the provisions of the
      448                   Earnest Money and Additional Deposits paragraph of the Contract.
      449
      450        13. INSPECTIONS. BUYER may, within _____ calendar days (ten (10) days if left blank) (the “Inspection Period”)
      451            after the Effective Date of this Contract, at BUYER’S expense, have property inspections by an independent,
      452            qualified inspector(s) which may include, but are not limited to:
      453
      454                appliances, plumbing (including septic system), electrical, heating system, central air conditioning, fireplace,
      455                chimney, foundation, roof, siding, windows, doors, ceilings, floors, insulation, drainage, interior and exterior
      456                components, any wall, decks, driveways, patios, sidewalks, fences, slabs, pest infestation, health and/or
      457                environmental concerns (including lead based paint, mold, asbestos and radon) as provided below and in the
      458                Additional Disclosures Including Those Mandated by State or Federal Law paragraph.
      459
      460                It is BUYER’S responsibility to perform due diligence and verify any information that BUYER considers to be
      461                material to the purchase of the Property. Any information provided by the Broker(s) and its affiliated licensee(s)
      462                assisting in this transaction is for information and marketing purposes only. BUYER shall complete all due
      463                diligence and verification of material concerns during the Inspection Period.
      464
      465                a. Property Insurability. During the Inspection Period, it is recommended BUYER determine if Property is
      466                   insurable.
      467
      468                b. Factors Affecting Inspections. BUYER acknowledges such inspections may not identify deficiencies in
      469                   inaccessible areas of the Property and may be limited by weather conditions at the time of the inspection. It is
      470                   recommended BUYER check with Lender(s) and/or local government authority regarding septic inspection.
      471
      472                c. Access to Property and Re-Inspections. SELLER must provide BUYER reasonable access to the Property
      473                   to conduct the inspections, re-inspections, inspection of any corrective measures completed by SELLER
      474                   and/or final walk through prior to the Closing Date.
      475
      476                d. Damages and Repairs. BUYER will be responsible and pay for any damage to the Property resulting from
      477                   the inspection(s).
      478
      479                e. Quality of Repairs. SELLER agrees any corrective measures which SELLER performs pursuant to the
      480                   following provisions will be completed in a workmanlike manner with good-quality materials.
      481
      482                f.    Wood-Destroying Insects. SELLER AGREES TO PAY TO HAVE THE PROPERTY TREATED for control
      483                      of infestation by wood-destroying insects if a written inspection report of a certified pest inspector reveals
      484                      evidence of active infestation, or evidence of past untreated infestation, or otherwise recommends treatment
      485                      in the main dwelling unit, or included additional structures identified below or on the Property within thirty (30)
      486                      feet of such unit or structure(s) (or as otherwise required by government regulations if BUYER is obtaining an
      487                      FHA/VA or other government program Loan(s)). BUYER will pay for any inspections requested by BUYER
      488                      and/or required by BUYER’S Lender(s).
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      489                     The inspection report must be delivered WITHIN THE INSPECTION PERIOD, or any treatment will be at
      490                     the BUYER’S expense.
      491
      492                      1. If treatment is required, SELLER will provide BUYER with a certificate evidencing treatment by a certified
      493                         pest inspector of SELLER’S choice, which certificate BUYER agrees to accept. Treatment will be
      494                         completed no earlier than ninety (90) calendar days prior to the Closing Date.
      495
      496                      2. Additional structures to be included in the inspection are: ______________________________________
      497                         ___________________________________________________________________________________
      498                         ___________________________________________________________________________________
      499
      500                      3. Any damage or repair issues related to wood-destroying insect infestations must be identified as
      501                         Unacceptable Conditions and addressed as set forth below.
      502
      503                g. What If Buyer Does Not Conduct Inspections? If BUYER does not conduct inspections, BUYER will have
      504                   waived any right to cancel or renegotiate this Contract pursuant to the inspection provisions.
      505
      506                h. What is an Unacceptable Condition? An Unacceptable Condition is any condition identified in a written
      507                   inspection report prepared by an independent qualified inspector(s) of BUYER’S choice, which condition is
      508                   unacceptable to BUYER and not otherwise excluded in this Contract.
      509
      510                i.    What If Buyer Does Not Give Timely Notice Of Unacceptable Conditions? If BUYER conducts
      511                      inspections but fails to notify SELLER of Unacceptable Conditions prior to the expiration of the Inspection
      512                      Period, BUYER will have waived any right to cancel or renegotiate this Contract pursuant to these inspection
      513                      provisions.
      514
      515                j.    What Is Not An Unacceptable Condition? The following items will not be considered Unacceptable
      516                      Conditions and cannot be used by BUYER as a reason to cancel or renegotiate this Contract. Any items
      517                      marked Excluded (EX) on Seller’s Disclosure and Condition of Property Addendum in addition to the following
      518                      items will not be considered: ________________________________________________________________
      519                      _______________________________________________________________________________________
      520                      _______________________________________________________________________________________
      521
      522                k. What If Buyer’s Inspections Reveal Unacceptable Conditions?                       If BUYER’S inspections reveal
      523                   Unacceptable Conditions, BUYER may do any one of the following:
      524
      525                      1. ACCEPT THE PROPERTY IN ITS PRESENT CONDITION. BUYER may notify SELLER on the
      526                         Inspection Notice that the inspections are satisfactory or do nothing. In either case, BUYER will have
      527                         waived any right to cancel or renegotiate due to any Unacceptable Conditions; or
      528
      529                      2. CANCEL THIS CONTRACT by notifying SELLER on the Inspection Notice within the Inspection Period;
      530                         or
      531
      532                      3. OFFER TO RENEGOTIATE with SELLER by notifying SELLER on the Resolution of Unacceptable
      533                         Conditions within the Inspection Period.
      534
      535                l.    BUYER’S notice of cancellation or offer to renegotiate terminates the Inspection Period and must be
      536                      accompanied by the applicable written inspection report(s) in their entirety from the independent,
      537                      qualified inspector(s) who conducted the inspection(s).
      538
      539                m. Resolution of Unacceptable Conditions. BUYER and SELLER will have _____ calendar days (five (5)
      540                   days if left blank) after SELLER’S receipt of BUYER’S Inspection Notice/Resolution of Unacceptable
      541                   Conditions (the “Renegotiation Period”), to reach an agreement resolving the Unacceptable
      542                   Conditions.




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      543                      Any of the following executed and delivered to the other party or other party’s Agent prior to the expiration of
      544                      the Renegotiation Period will constitute such an agreement:
      545
      546                      1. SELLER’S signature agreeing to do everything requested by BUYER on the original Resolution of
      547                         Unacceptable Conditions Amendment attached to Inspection Notice; or
      548
      549                      2. A revised Resolution of Unacceptable Conditions Amendment signed by BUYER and SELLER resolving
      550                         the unacceptable conditions; or
      551
      552                      3. BUYER’S signature on the Resolution of Unacceptable Conditions Amendment accepting the Property in
      553                         its present condition.
      554
      555                      If no agreement resolving the Unacceptable Conditions is reached during the Renegotiation Period as
      556                      provided above, then after the expiration of the Renegotiation Period either of the following is
      557                      permitted under the Contract.
      558
      559                             A. Negotiations may still proceed. Any agreement must be in a written Amendment and signed by both
      560                                parties.
      561
      562                             B. Either party may cancel this Contract by written notice to the other and the Earnest Money will be
      563                                returned subject to the provisions of the Earnest Money and Additional Deposits paragraph of the
      564                                Contract.
      565
      566        DEFAULTS AND REMEDIES
      567
      568        14. DEFAULTS AND REMEDIES. SELLER or BUYER will be in default under this Contract if either fails to comply
      569            with any material covenant, agreement or obligation within any time limits required by this Contract. Following a
      570            default by either SELLER or BUYER under this Contract, the other party will have the following remedies, subject
      571            to the provisions of Earnest Money and Additional Deposits paragraph of this Contract.
      572
      573                       If SELLER defaults, BUYER may:
      574
      575                      a. Specifically enforce this Contract and recover damages suffered by BUYER as a result of the delay in the
      576                         acquisition of the Property.
      577
      578                      b. Terminate this Contract by written notice to SELLER and, at BUYER’S option, pursue any remedy and
      579                         damages available by law or in equity. If BUYER elects to terminate this Contract, the Earnest Money will
      580                         be returned to BUYER subject to the provisions of Earnest Money and Additional Deposits paragraph of
      581                         this Contract.
      582
      583                      If BUYER defaults, SELLER may:
      584
      585                      a. Specifically enforce this Contract and recover damages suffered by SELLER as a result of the delay in the
      586                         sale of the Property.
      587
      588                      b. Terminate this Contract by written notice to BUYER and, at SELLER’S option, either retain the Earnest
      589                         Money as liquidated damages as SELLER’S sole remedy (the parties recognizing that it would be
      590                         extremely difficult to ascertain the extent of actual damages caused by BUYER’S breach, and that the
      591                         Earnest Money represents as fair an approximation of such actual damages as the parties can now
      592                         determine) as provided in this Contract, or pursue any other remedy and damages available at law or in
      593                         equity.
      594
      595                In any legal action to enforce rights under this Contract, the prevailing party is entitled to reimbursement of all
      596                reasonable attorney fees, court costs, and other related legal expenses incurred in connection with such legal
      597                action.



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      598        15. DISPUTE RESOLUTION. If a dispute arises relating to this Contract prior to or after closing between BUYER
      599            and SELLER, or between BUYER or SELLER and a Brokerage Firm or its licensee assisting in the transaction,
      600            and the parties to such dispute or claim are unable to resolve the dispute, BUYER and SELLER agree in good
      601            faith to attempt to settle such dispute through the dispute resolution process using a professional mediator. The
      602            parties to the dispute must agree in writing before any settlement is binding. Any agreement signed by the
      603            parties pursuant to the dispute resolution conference shall be binding. For controversies and claims that do not
      604            exceed the lesser of: (a) $5,000.00 (five thousand dollars); or (b) the applicable jurisdictional limit of small
      605            claims court, either party may bring such claims in small claims court in lieu of dispute resolution. The following
      606            matters are excluded from dispute resolution: foreclosure or other action to enforce a deed of trust, mortgage,
      607            or land contract; an unlawful detainer action; the filing or enforcement of a mechanic's lien; any matter, which is
      608            within the jurisdiction of a probate court, or; a violation of a state's real estate license laws. Each party agrees to
      609            pay their equal share of any cost to use the services of a professional mediator, unless otherwise agreed to by
      610            the parties.
      611
      612        ADDITIONAL DISCLOSURES INCLUDING THOSE MANDATED BY STATE OR FEDERAL LAW
      613
      614        16. RADON, MICROBIALS AND OTHER ENVIRONMENTAL POLLUTANTS.
      615
      616                a. Radon. Every BUYER of residential real property is notified the Property may present exposure to dangerous
      617                   concentrations of indoor radon gas that may place occupants at risk of developing radon-induced lung cancer.
      618
      619                      Radon, a Class-A human carcinogen, is the leading cause of lung cancer in non-smokers and the second
      620                      leading cause overall. Kansas law requires SELLER to disclose any information known to SELLER that
      621                      shows elevated concentrations of radon gas in residential real property.
      622
      623                      The Kansas Department of Health and Environment recommends all homebuyers have an indoor radon
      624                      test performed prior to purchasing or taking occupancy of residential real property. All testing for radon
      625                      should be conducted by a radon measurement technician. Elevated radon concentrations can be easily
      626                      reduced by a radon mitigation technician.
      627
      628                      For additional information, please go to http://www.kansasradonprogram.org or in Missouri a national
      629                      source for radon information is http://www.epa.gov/radon.
      630
      631                b. Microbials and Other Environmental Pollutants. BUYER acknowledges mold, fungi, bacteria and other
      632                   microbials commonly exist in homes and will exist in the Property as a result of rain, humidity and other
      633                   moisture in the Property and on materials during the normal construction process and as a result of the use of
      634                   wood and other materials that commonly have mold, fungi, bacteria and other microbials at the time of
      635                   delivery to the job site. BUYER has the opportunity to become informed about microbials and other
      636                   environmental pollutants, and the potential health risks of microbials and other environmental pollutants.
      637
      638                      1. The SELLER and Licensee assisting the SELLER and/or the BUYER do not claim or possess any special
      639                         expertise in the measurement or reduction of radon, microbials or other environmental pollutants, nor
      640                         have they provided any advice to BUYER as to acceptable levels or possible health hazards of radon,
      641                         microbials or other environmental pollutants.
      642
      643                      2. There can be no assurance that any existing systems, devices or methods incorporated into the Property
      644                         for the purpose of reducing radon, microbials or other environmental pollutant levels will be effective and
      645                         SELLER has no responsibility for the operation, maintenance or effectiveness of such systems, devices
      646                         and methods.
      647
      648        17. LEAD BASED PAINT DISCLOSURE. If the property was built prior to 1978, BUYER acknowledges receiving,
      649            reading and signing the Federally required disclosure regarding lead based paint.
      650
      651        18. CRIMINAL OFFENDERS. In Missouri and Kansas, law requires persons who are convicted of certain crimes,
      652            including certain sexually violent crimes, to register with the Sheriff of the county in which they reside. If you, as the
      653            BUYER, desire information regarding those registrants, you may find information on the homepage of the Kansas
      654            Bureau of Investigation (KBI) at https://www.kbi.ks.gov/registeredoffender/SearchOffender.aspx or by contacting
      655            the local Sheriff’s office in Kansas. In Missouri, you may find information on the homepage of the Missouri State
      656         Highway Patrol
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      659                In Missouri, you may find information on the homepage of the Missouri State Highway Patrol, at
      660                https://www.mshp.dps.missouri.gov/CJ38/search.jsp or BUYER should contact the Sheriff of the county in which
      661                the Property is located.
      662
      663        19. FRANCHISE DISCLOSURE. Although one or more of the Brokers may be a member of a franchise, the
      664            franchisor is not responsible for the acts of said Broker(s).
      665
      666        20. BROKERAGE RELATIONSHIP DISCLOSURE.
      667
      668                SELLER and BUYER acknowledge the Real Estate Brokerage Relationship Brochure has been furnished to them
      669                and the brokerage relationships were disclosed to them no later than the first showing, upon first contact, or
      670                immediately upon the occurrence of any change to that relationship.
      671
      672                SELLER and BUYER acknowledge the real estate Licensee(s) involved in this transaction may be acting as
      673                Agents of the SELLER, Agents of the BUYER, Transaction Broker(s) or Disclosed Dual Agents (Available only in
      674                Missouri.).
      675
      676                Licensee acting in the capacity of:
      677
      678                a. Agent for the SELLER has a duty to represent the SELLER’S interest and will not be the Agent of the BUYER.
      679                   Information given by the BUYER to an Agent of the SELLER will be disclosed to the SELLER.
      680                b. Agent for the BUYER has a duty to represent the BUYER’S interest and will not be an Agent of the SELLER.
      681                   Information given by the SELLER to an Agent of the BUYER will be disclosed to the BUYER.
      682                c. Transaction Broker is not an Agent for either party and does not advocate the interests of either party.
      683                d. Disclosed Dual Agent (Available only in Missouri.) is acting as an Agent for both the SELLER and the BUYER,
      684                   and a separate Disclosed Dual Agency Amendment is required.
      685
      686                                      Agent generating the Contract is responsible for checking appropriate boxes on
      687                                               BOTH sides of Agency PRIOR TO THEIR CLIENT SIGNING.
      688          Licensee assisting SELLER is a: (Check appropriate box(es))           Licensee assisting BUYER is a: (Check appropriate box(es))
      689
      690                SELLER’S Agent                                                       BUYER’S Agent
      691                Designated SELLER’S Agent (In Kansas, Supervising                    Designated BUYER’S Agent (In Kansas, Supervising
      692                Broker acts as a Transaction Broker)                                 Broker acts as a Transaction Broker)
      693                Transaction Broker and SELLER agrees, if applicable,                 Transaction Broker and BUYER agrees, if applicable,
      694                to sign a Transaction Broker Addendum. SELLER is not                 to sign a Transaction Broker Addendum. BUYER is not
      695                being represented.                                                   being represented.
      696                Disclosed Dual Agent and SELLER agrees to sign a                     Disclosed Dual Agent and BUYER agrees to sign a
      697                Disclosed Dual Agency Amendment. (Missouri only)                     Disclosed Dual Agency Amendment. (Missouri only)
      698                BUYER’S Agent                                                        SELLER’S Agent
      699                Designated BUYER’S Agent (In Kansas, Supervising                     Designated SELLER’S Agent (In Kansas, Supervising
      700                Broker acts as Transaction Broker)                                   Broker acts as a Transaction Broker)
      701                Subagent                                                             Subagent
      702                SELLER is not being represented.                                     BUYER is not being represented.
      703
      704          SOURCE OF COMPENSATION. Brokerage fees, to include but not limited to broker commissions and other fees,
      705          will be paid out of escrow at Closing as follows, unless otherwise described in the terms of the respective agency
      706          agreements or other SELLER/BUYER agreements. SELLER and BUYER understand and agree Brokers may be
      707          compensated by more than one party in the transaction. (Check all applicable boxes)
      708
      709                                                Brokers are compensated by:        SELLER and/or          BUYER
      710
      711          The signatures below only apply to the Brokerage Relationship Disclosure.
      712
                                                                   Jennifer Brentano
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      713          _____________________________________________ ______________________________________________
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      714          Licensee assisting Seller               DATE Licensee assisting Buyer                          DATE
      715
                                                                    Elvi Guerra
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      716          _____________________________________________ ______________________________________________
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      717          SELLER                                  DATE BUYER                                             DATE
      718
                                                                   Wagner Mauricio Guerra-Arana C6AF-CJJM-S85C-MNMN
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      719          _____________________________________________ ______________________________________________
      720          SELLER                                  DATE BUYER                                               DATE
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      721        TERMS AND CONDITIONS
      722
      723        21. EARNEST MONEY AND ADDITIONAL DEPOSITS.
      724
      725                a. Delivery. SELLER may cancel the Contract by written notice if Earnest Money and Additional Deposits are
      726                   not received by Listing Broker or Escrow Agent as specified in this Contract.
      727
      728                b. Deposit. Earnest Money and Additional Deposits will be deposited into an insured account by the specified
      729                   Listing Broker/Escrow Agent within five (5) business days (Kansas Property) or ten (10) banking days
      730                   (Missouri Property) of the Effective Date, unless otherwise agreed upon in writing. All parties agree that Listing
      731                   Broker/Escrow Agent will retain any interest earned on escrowed funds.
      732
      733                c. Cancellation of Contract. If this Contract is terminated by the express provisions of this Contract or by
      734                   either party pursuant to a right expressly given in this Contract, the Earnest Money and Additional Deposits
      735                   will be returned to BUYER, and neither party will have any further rights or obligations under this Contract,
      736                   except as otherwise stated in this Contract.
      737
      738                      Notwithstanding any other terms of this Contract providing for the forfeiture or refund of Earnest Money and
      739                      Additional Deposits, the parties understand neither the Listing Broker nor the Escrow Agent can distribute the
      740                      Earnest Money and Additional Deposits without the written consent of all parties to this Contract unless
      741                      permitted to do so by applicable state laws.
      742
      743                      If BUYER and SELLER are unable to agree in writing upon the disposition of the Earnest Money and
      744                      Additional Deposits or any other funds, Listing Broker or Escrow Agent may commence an inter-pleader or
      745                      similar proceeding and BUYER and SELLER authorize Listing Broker or Escrow Agent to pay all funds to the
      746                      Clerk of the Court for disposition as the Court may direct.
      747
      748                      BUYER and SELLER agree Listing Broker or Escrow Agent will be entitled to reimbursement of its costs
      749                      incurred in connection with the inter-pleader or similar proceeding including without limitation, reasonable
      750                      attorney fees and expenses.
      751
      752                      BUYER and SELLER agree, in the absence of a dispute or written consent to distribution, the failure by either
      753                      to respond in writing to a certified letter from Listing Broker or Escrow Agent within seven (7) calendar days (if
      754                      Kansas Property)/fifteen (15) calendar days (if Missouri Property) of receipt thereof or failure to make written
      755                      demand for return or forfeiture of the Earnest Money and Additional Deposits within thirty (30) calendar days
      756                      (if Kansas Property)/sixty (60) calendar days (if Missouri Property) of notice of cancellation of this Contract will
      757                      constitute consent to distribution of the Earnest Money and Additional Deposits as suggested in such certified
      758                      letter.
      759
      760                      All parties acknowledge any Earnest Deposit funds that remain in the Listing Broker or Escrow Agent’s
      761                      account for over one (1) year (if Missouri Property)/five (5) years (if Kansas Property) may be sent to the
      762                      respective states as requested or required by law.
      763
      764        22. TAXES, PRORATIONS AND SPECIAL ASSESSMENTS. All general/state/county/school and municipal real
      765            estate taxes, homeowner’s association dues and fees, special assessments, interest on existing Loans to be
      766            assumed by BUYER, and any other contractual obligations of SELLER to be assumed by BUYER for years prior
      767            to the current calendar year will be paid by SELLER.
      768
      769                a. Any of the preceding items which become due and accrue during the calendar year in which SELLER'S
      770                   warranty deed is delivered (including but not limited to rents and deposits, if applicable) will be prorated
      771                   between the parties as of the Closing Date and, for all years thereafter, to the extent permitted by applicable
      772                   law, will be assumed and paid by the BUYER. BUYER acknowledges that the Property may be subject to a
      773                   special assessment, fee, or located in an improvement district. BUYER acknowledges this disclosure is
      774                   required by Kansas law, and may be found in the Seller’s Disclosure and Condition of Property Addendum or
      775                   a separate document, if applicable.


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      776                b. If the actual amount of any item, other than taxes for the current year, cannot be ascertained from the public
      777                   record, the amount of the item for the preceding year will be used for the current year’s amount. If the actual
      778                   amount of taxes for the current calendar year cannot be determined, it will be estimated by using the current
      779                   year’s appraised value, if available from the county taxing authority, and last year’s mill levy. If appraised value
      780                   is not available, the Contract Purchase Price will be used with last year’s mill levy. BUYER and SELLER agree
      781                   to accept such prorations as final and release each other, Broker(s), Agent(s), and Closing Agent(s) from any
      782                   liability for any increase or decrease in actual taxes due.
      783
      784                      In Missouri, reassessment takes place in odd-numbered years. Missouri transactions closing in odd-
      785                      numbered years are subject to the process in the preceding paragraph. Missouri transactions closing in
      786                      even-numbered years will be prorated based upon the preceding year’s tax amount.
      787
      788        23. EVIDENCE OF TITLE. SELLER agrees to provide and pay for an owner’s title insurance policy in the amount
      789            of the Purchase Price insuring marketable fee simple title in BUYER, subject to the Permitted Exceptions and
      790            with the exception of any liens, encumbrances or other matters affecting title to the Property created by BUYER
      791            or arising by virtue of BUYER’s activities or ownership.
      792
      793                Within a reasonable time after the Effective Date, but prior to the Closing Date (the “Commitment Delivery
      794                Date”), SELLER agrees, at SELLER’s expense, to deliver to BUYER a title insurance commitment from a
      795                company authorized to insure titles in the state where the Property is located, setting forth its requirements to
      796                issue an owner’s title policy and mortgage policy, if applicable.
      797
      798                Unless there is a defect in title to the Property that is not corrected prior to the Closing Date, BUYER may not
      799                object to untimely delivery of the title commitment. The title commitment will commit to insure marketable fee
      800                simple title in the BUYER upon the recording of the deed or other document of conveyance. Title to the
      801                Property will be subject to the conditions in this Contract and to customary covenants, declarations, restrictions,
      802                zoning laws, easements, party wall agreements, special assessments, and community contracts of record as of
      803                the date of recording the deed or other document of conveyance (the “Permitted Exceptions”).
      804
      805                BUYER will have a reasonable time after receipt of the title commitment (the “Objection Period”) to notify
      806                SELLER in writing of any valid objections to title to the Property. SELLER will then make a good faith effort to
      807                remedy the defects in title. If SELLER is not able to remedy the title defects before the Closing Date, BUYER
      808                may elect to waive the objections, extend the Closing Date a reasonable time for the SELLER to remedy the
      809                defects, or cancel this Contract by written notice.
      810
      811                If the time between the Effective Date and the Closing Date is short, both the Commitment Delivery Date and
      812                the Objection Period will be as soon as reasonably possible, but no later than the Closing Date.
      813
      814                Mechanic’s Lien Coverage. The owner’s title policy will also insure BUYER as of the date of recording of the
      815                deed or other document of conveyance, against any lien, or right to a lien for services, labor or material
      816                imposed by law and not shown by the public records. SELLER agrees to comply with the requirements of the
      817                title company for issuance of this coverage. Any mechanic's lien or notice of intent filed during construction
      818                and prior to closing will not be deemed a defect in title unless the title insurance company will not insure against
      819                loss therefrom.
      820
      821                      If the Property (Missouri only) has not been occupied by SELLER and has had recent construction work
      822                      performed, the SELLER may be required to post and record a “notice of intended sale”, as stated in
      823                      Chapter 429 of the Missouri Revised Statutes, in order for BUYER to obtain Mechanic's Lien Coverage. All
      824                      parties are advised to consult with the title company regarding these requirements.
      825
      826        24. EXPIRATION. This offer will expire on ____________________________ (five (5) days if left blank), at _____
      827            o’clock ___.m. (5:00 p.m. if left blank) unless accepted or withdrawn before expiration.
      828
      829                 CAREFULLY READ THE TERMS HEREOF BEFORE SIGNING. WHEN SIGNED BY ALL PARTIES, THIS
      830                              DOCUMENT BECOMES PART OF A LEGALLY BINDING CONTRACT.
      831                             IF NOT UNDERSTOOD, CONSULT AN ATTORNEY BEFORE SIGNING.


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      832                    SELLER hereby authorizes Closing Agent to obtain payoff information from SELLER’S Lender(s).
      833
      834             BUYER and SELLER hereby specifically permit the Brokerage(s) assisting in the transaction to obtain and
      835                            retain copies of both BUYER’S and SELLER’S Closing Statements.
      836
      837               Seller’s signature not applicable below, see Counter Offer Addendum.
                                                                                                  Elvi Guerra
                                                                                                                                                dotloop verified
      838                                                                                                                                       01/22/19 6:12 PM CST
                                                                                                                                                KWCV-DJAB-LZX1-SRKJ
      839          _____________________________________________ _______________________________________________
      840          SELLER                                  DATE BUYER                                     DATE
      841
                                                                                                   Wagner Mauricio Guerra-Arana 01/22/19
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      842                                                                                                                                6:16 PM CST
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      843          _____________________________________________ _______________________________________________
      844          SELLER                                  DATE BUYER                                     DATE
      845
      846                                                                    Keller Williams - Overland Park
                   _____________________________________________ _______________________________________________
      847          BROKERAGE                                     BROKERAGE
      848
      849                                                                6850 College Blvd, Overland Park, KS 66211
                   _____________________________________________ _______________________________________________
      850          ADDRESS                                       ADDRESS
      851
      852                                                                              Jennifer Brentano
                   _____________________________________________ _______________________________________________
      853          Name of Licensee assisting Seller (Please Print) Name of Licensee assisting Buyer     (Please Print)
      854
      855                                                                      9136346290             913-634-6290
                   ________________________/____________________ ________________________/______________________
      856          Listing Licensee’s Contact # Brokerage Contact # Selling Licensee’s Phone # Brokerage Contact #
      857
      858                                                                            jbrentano@kw.com
                   _____________________________________________ _______________________________________________
      859          Listing Licensee’s Email Address              Selling Licensee’s Email Address
      860
      861          DATE OF FINAL ACCEPTANCE, THE "EFFECTIVE DATE" IS _________________________________
      862                        (Effective Date to be completed by Licensee assisting the last party signing this Contract.)
      863
      864          FORM CERTIFICATION. (TO BE COMPLETED BY LICENSEE PREPARING THIS FORM)
      865
      866          The undersigned Licensee assisted in completing the blanks in the foregoing form and confirms, to the best of his/her
      867          knowledge, that the printed form contains the language approved by Counsel for the Kansas City Regional
      868          Association of REALTORS®. The undersigned Licensee further confirms no additions or deletions to the approved
      869          language have been made, except such changes as may appear hereon made by hand or computer generation and
      870          signed and/or initialed by the party submitting this offer. Licensee's signature below is not an opinion as to the legal
      871          validity or meaning of any provisions contained in this form, but merely confirms, to the best of the Licensee's
      872          knowledge, no changes have been made to the approved form. (Check one)
                                                                                                   Jennifer Brentano
                                                                                                                                                   dotloop verified
      873                                                                                                                                          01/22/19 3:45 PM CST
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      874          ___________________________________________                                 __________________________________________
      875             Licensee assisting Seller                                                        Licensee assisting Buyer
      876
      877
      878          CERTIFICATION OF REJECTION. (TO BE COMPLETED ONLY UPON SELLER’S REJECTION OF OFFER)
      879
      880          Listing Licensee acknowledges receipt of this offer and has made a presentation to SELLER on ________ ________
      881          for SELLER’S consideration.                                                                    DATE     TIME
      882
      883          By: _____________________________________________
      884                  Licensee assisting Seller




                    Approved by Legal Counsel of the Kansas City Regional Association of REALTORS® for exclusive use by its REALTOR® members. No
                    warranty is made or implied as to the legal validity or adequacy of this Contract, or that it complies in every respect with the law or that its use is
                    appropriate for all situations. Local law, customs and practices, and differing circumstances in each transaction may dictate that amendments to
                    this Contract be made. Last revised August 2018. All previous versions of this document may no longer be valid. Copyright January 2019.

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